            IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF TENNESSEE                     Motion GRANTED.
                     NASHVILLE DIVISION



UNITED STATES OF AMERICA                 )
                                         ) No. 3:12-00198
          v.                             )
                                         ) JUDGE TRAUGER
                                         )
ALI KASSEM                               )



              DEFENDANT ALI KASSEM’S MOTION TO
         CANCEL PLEA HEARING AND SET CASE FOR TRIAL

    Defendant, Ali Kassem, respectfully requests that

this Honorable Court cancel the Plea Hearing currently

scheduled for March 14, 2014, and set this case for

trial.     Mr. Kassem does not wish to plead guilty and

would like to take his case to trial.                          Undersigned

counsel respectfully requests that the Court not set

this case until late summer because defense counsel

already has a full trial schedule between now and then.

Defense counsel has advised Mr. Kassem that his trial

would be in the later summer or early fall and he is in

agreement with that time frame.                Mr. Kassem has signed


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